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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


KAREN ALBRIGHT, et al.
on behalf of themselves and
others similarly situated,
                                                             Case No. 1:22-cv-00638-JMB-SJB
               Plaintiffs,
       v.                                                    Hon: Jane M. Beckering

ASCENSION MICHIGAN, et al.

                       Defendants.

 Noah S. Hurwitz (P74063)                                  Maurice G. Jenkins (P33083)
 Grant M. Vlahopoulos (P85633)                             Allan S. Rubin (P44420)
 Kara F. Krause (P85487)                                   Elyse K. Culberson (P82132)
 HURWITZ LAW PLLC                                          JACKSON LEWIS P.C.
 614 Detroit St. STE 125                                   2000 Town Center, Ste. 1650
 Ann Arbor, MI 48104                                       Southfield, MI 48075
 (844) 487-9489                                            (248) 936-1900
 Noah@hurwitzlaw.com                                       Maurice.jenkins@jacksonlewis.com
 Grant@hurwitzlaw.com                                      Allan.rubin@jacksonlewis.com
 Kara@hurwitzlaw.com                                       Elyse.culberson@jacksonlewis.com

 James A. Thomas (P80931)                                  Patricia Pryor
 JIMMY THOMAS LAW                                          Jackson Lewis P.C.
 Attorneys for Plaintiffs                                  201 E. Fifth Street, 26th Floor
 1925 Breton Rd. SE, Ste. 250                              Cincinnati, OH 45202
 Grand Rapids, MI 49506                                    (513) 898-0050
 (616) 747-1188                                            Patricia.pryor@jacksonlewis.com
 jimmy@jimmythomaslaw.com

 Attorneys for Plaintiffs                                  Attorneys for Defendants



   DEFENDANTS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS

                                     I.    INTRODUCTION

       Defendants moved to dismiss Plaintiffs’ Second Amended Complaint (“SAC”). Plaintiffs’

opposition to Defendants’ motion fails to raise a right for relief above the speculative level. Bell
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Atl. Corp. v. Twombly, 550 U.S. 544, 545, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). Defendants’

motion should be granted.

                                   II.      REPLY ARGUMENT

        A. Plaintiffs Fail to Allege Any Sincerely Held Religious Beliefs That Conflict with Any
           Vaccine Policy.

        Plaintiffs admit that to plead a Title VII religious accommodation claim they must plead

that the Plaintiffs “hold sincere religious beliefs that conflict with an employment requirement.”

(ECF No. 45, PageID 369) But Plaintiffs have not asserted any sincerely held religious belief that

any of them hold that conflicts with any vaccine requirement. Blanket conclusory statements are

not enough. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Twombly, 550 U.S. at 570). Although

a complaint need not contain “detailed factual allegations,” a pleading that offers “labels and

conclusions” or “a formulaic recitation of the elements of a cause of action will not do.” Twombly,

550 U.S. at 555. Courts need not accept as true naked assertions devoid of factual enhancement.

Id.at 557 (citing Iqbal, 556 U.S. at 628). Not only do Plaintiffs not even attempt to identify any

sincerely held religious belief that conflicted with the vaccine requirement, but they seemingly

argue that they will need to obtain this information in discovery. (ECF No. 45, PageID 371:

“Plaintiffs’ specific religious accommodation requests reside within Defendants’ control and will

be requested during discovery”) That Plaintiffs are unable to identify their own sincerely held

religious beliefs that conflict with a vaccine requirement is telling. Regardless, Plaintiffs have

offered nothing other than a formulaic recitation of the elements of a religious discrimination

claim. Under Iqbal and Twombly, their complaint should be dismissed as a matter of law for this

reason alone.

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       B. Plaintiffs’ Religious Accommodation Claim Fails As A Matter Of Law As It is
          Undisputed The Requested Accommodation Would Impose an Undue Burden on
          Defendants.

       In addition, dismissal is appropriate because it is undisputed that in November 2021, in the

midst of the pandemic and heavy government regulation requiring vaccination, allowing

individuals to care for patients while unvaccinated created more than a de minimis burden on

Defendants.1 (See ECF No. 38, PageID 289-91.) Plaintiffs admit they are “doctors, nurses, nurse

practitioners, physician assistants and other health care workers” (ECF No. 45, PageID 362) – the

same workers that the interim final rule of the Secretary of Health and Human Services said

employers needed to ensure were vaccinated.2 86 Fed. Reg. 61555 (2021). Defendants’ policy was

consistent with the findings by the Secretary of Health and Human Services, who concluded that:

(1) Unvaccinated staff pose a serious threat to patients; (2) Transmission to patients who are

elderly, disabled, or in poor health, is particularly dangerous; (3) “Fear of exposure” “from

unvaccinated health care staff can lead patients to forgo seeking medically necessary care,” and

(4) Staffing shortages caused by COVID–19 related exposures or illness has disrupted patient care.

Biden v. Missouri, 142 S. Ct. 647, 211 L. Ed. 2d 433 (2022).

       As is well recognized by courts, the risk of infection and death to hospital patients, staff,

and visitors is well beyond a “de minimis cost.” See Does v. Hochul, No. 21-cv-5067, 2022 U.S.

Dist. LEXIS 180025, at *45 (E.D.N.Y. Sept. 30, 2022) (granting motion to dismiss where



1
  Plaintiffs seek to proceed as a Rule 23 class. Yet, they now argue that their accommodation
claims must be decided case-by-case (ECF No. 45, PageID 372).
2
  Plaintiffs’ brief is full of red herrings to attempt to avoid the clear legal arguments that require
dismissal. For example, Plaintiffs state that Defendants’ policy applied to remote workers, but
Plaintiffs do not claim to be remote workers and do not claim that a remote worker was denied an
accommodation. Similarly, Defendants never claimed that their policy was based on the interim
final rule (nor could it have been as Defendants issued their policy first). Rather, Defendants said
the findings of the Secretary of Health and Human Services supported Defendants’ conclusion that
accommodating the Plaintiffs would create an undue hardship. ECF No. 38, PageID 290.
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“exempting the plaintiffs from the vaccine requirement would expose vulnerable patients and

nursing home residents, as well as other healthcare workers, to the COVID-19 virus, which is

obviously a significant hardship.”); Robinson v. Children’s Hosp. Boston, 2016 U.S. Dist. LEXIS

46024 (D. Mass. Apr. 5, 2016) (holding that providing a vaccine exemption in a hospital setting

would have imposed undue hardship because of increased risk of transmission to already

vulnerable patients); EEOC v. Mission Hosp., Inc., 2017 U.S. Dist. LEXIS 124183 (W.D.N.C.

Aug. 7, 2017) (noting that when hospital employees interacted with vulnerable patient populations,

should patients or staff suffer from hospital borne disease, the infection would increase costs to

the hospital); Barrington v. United Airlines, 566 F. Supp. 3d 1102, 1109 (D. Colo. 2021)

(recognizing the undue hardship created by the potential risk of the unvaccinated associates

exposing co-workers to heightened risk of COVID-19); Doe v. Mills, 16 F.4th 20, 31-32 (1st Cir.

2021) (“The hospitals need not provide the exemption the appellants request because doing so

would cause them to suffer undue hardship.”); Together Emples. v. Mass Gen. Brigham Inc., 573

F. Supp. 3d 412, 433 (D. Mass. 2021) (“Under the circumstances, it was reasonable for MGB to

conclude that unvaccinated employees—who are more likely to become infected—pose a direct

threat to patients and others. ‘[T]his court should not second-guess the hospital's judgment in

matters of patient safety.’"); Creger v. United Launch All. LLC, 571 F. Supp. 3d 1256, 1264 (N.D.

Ala. 2021) (denying injunctive relief based on the undue hardship posed by the added cost and

administrative burden of providing weekly testing, and the risk of employee hospitalizations and

deaths); O’Hailpin v. Hawaiian Airlines, Inc., 583 F. Supp. 3d 1294, 1309-10 (D. Haw. 2022)

(recognizing undue hardship from increased risk of COVID-19 that unvaccinated employees pose

to other employees and passengers). Plaintiffs have not cited a single case where a court has




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concluded that an employer has to provide a religious accommodation where doing so creates an

increased safety risk. 3

        In Does, the court found not only an undue hardship with respect to the risk of infection

and death but also with respect to the risk of legal liability if an unvaccinated staff member treated

a patient:

                “Aside from the obvious hardship associated with an increase in
                infections and its deleterious effect on staff and patients, the Private
                Defendants could also face legal liability if a patient or resident
                treated by an unvaccinated employee were to contract COVID-19.
                The number of lawsuits filed in this District based on COVID-19
                deaths in nursing homes demonstrates that this is more than just a
                theoretical possibility. See, e.g., Gavin v. Jackson Heights Care Ctr.,
                LLC, No. 22-CV-5006 (E.D.N.Y. Aug. 24, 2022); Gonzalez v.
                Parker Jewish Inst. for Health Care & Rehab. et al., No. 22-CV-
                5199 (E.D.N.Y. Aug. 81, 2022); Esposito v. Parker Jewish Inst. for
                Healthcare & Rehab., No. 22-CV-5012 (E.D.N.Y. Aug. 24, 2022);
                Thompson v. Ditmas Park Rehab. & Care Center, LLC et al., No.
                22-CV-4555 (E.D.N.Y. Aug. 3, 2022); Weppler v. Highfield
                Gardens Care Ctr. of Great Neck, No. 22-CV-2905 (E.D.N.Y. May
                18, 2022).”

Does, 2022 U.S. Dist. LEXIS 180025 at *45, n.28.

        Moreover, as discussed in Defendants’ Motion (ECF No. 38, PageID 289-91), at the time

of both the adoption of the COVID-19 vaccination policy and the decisions on Plaintiff’s

accommodation requests, there were multiple government regulations in place that required

vaccination in the healthcare setting, and/or placed additional (more than de minimis) burden on




3
  Plaintiffs cite Garvey v. City of New York, 85163/2022, 2022 WL 16559102 (NY Sup. Ct.
October 24, 2022). But Garvey is not applicable here. Garvey involved sanitation workers (not
healthcare workers providing care to the most vulnerable of patients). It was not a Title VII
accommodation case and discussed conditions in February 2022 (after Defendants had determined
conditions had changed enough where they were willing to accept the burden – even though it was
still greater than de minimis -- and return individuals to work).
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employers with respect to employees who were not vaccinated.4 In addition to the risk to patients

and staff and the risk of legal liability, the cost and burden of compliance with these regulations

that governed circumstances where unvaccinated individuals remained in the healthcare setting

was itself more than a de minimis burden, as a matter of law.

       Plaintiffs try to argue that there was no undue hardship because the hospitals operated

without a vaccine mandate before the vaccine was widely available5 and because they later

provided accommodations after circumstances changed. Neither of these arguments negate the

undue hardship analysis at the time the decisions were made. Cooper v. Oak Rubber Co., 15 F.3d

1375, 1378-80 (6th Cir. 1994) (the reasonableness of an accommodation is determined at the time

of the decision impacting plaintiffs). It is beyond dispute that COVID-19 and its impact was an

ever-changing health crisis. In the fall of 2021, against the backdrop of the COVID-19 pandemic,

the lives the pandemic had already claimed in the healthcare setting, the new interim final rule

requiring vaccination in the healthcare setting and issuing a number of findings about the risks in

the healthcare setting without it,6 the OSHA Healthcare ETS that required longer quarantine



4
  For example, the OSHA COVID-19 Healthcare ETS, required unvaccinated employees to be
removed from the workplace if they had close contact with an individual with COVID-19. 86 Fed.
Reg. 32376, at 32454. As a result, unvaccinated employees were subject to greater quarantine
requirements under the OSHA Healthcare ETS, resulting in increased risk of staffing shortages.
In addition, the new OSHA ETS announced in the fall of 2021, would have required weekly testing
of unvaccinated individuals, resulting in increased costs to employers who allowed unvaccinated
individuals in the workplace. See Speer v UCOR, LLC, No. 3:21-cv-368, 2022 U.S. Dist. LEXIS
157271, at **14-15 (E.D. Tenn. Aug. 31, 2022) (Cost associated with weekly testing would be
$370 per employee, totaling $1,885,520 per year for the 98 employees and the cost of two KN-95
masks per week for 98 employees would total $10,192 per year).
5
  The lack of vaccines had devastating consequences on healthcare workers. Nearly a quarter of
pre-vaccine COVID-19 cases (24.34%) had “known healthcare personnel” status and caused
between 80,000 and 180,000 health care worker deaths. (ECF No. 38, PageID.289).
6
  While the interim final rule allowed for consideration of legally required accommodations, it did
not mandate that accommodations be provided if there was an undue hardship and did not identify
what accommodations would be acceptable and not result in loss of funding if provided to direct
patient care providers.
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requirements for unvaccinated individuals and the OSHA ETS that would require costly weekly

testing of unvaccinated individuals, Defendants’ decision that it was an undue hardship was

reasonable and appropriate as a matter of law.7 See Villareal v. Rocky Knoll Health Care Center,

2022 U.S. Dist. LEXIS 210267, at *18 (ED Wis, Nov. 21, 2022) (“[A]n accommodation can be an

undue hardship if it causes or increases safety risks or the risk of legal liability for the

employer. ‘The inquiry ultimately boils down to whether the employer acted reasonably [in

determining that a potential accommodation would cause it undue hardship].’”)(Citations omitted).

       Plaintiffs misunderstand the nature of the de minimis standard. It does not matter that it

was possible both before and after for employees to work unvaccinated. The de minimis standard

does not require that an employer accommodate a religious belief unless it is impossible not to.

Rather, the standard is that accommodations are only required if they can be provided without

imposing a de minimis burden. An employer can always accept the de minimis burden imposed

by an accommodation and voluntarily choose to accommodate even when not legally required,

which is what Defendants later did when the regulations and other circumstances changed (by mid-

December the OSHA ETS and CMS regulations had been enjoined, see BST Holdings, L.L.C. v.

OSHA, 17 F. 4th 604 (5th Cir. 2021); Louisiana v. Becerra, 571 F. Supp. 3d 516 (W.D. La. Nov.

30, 2021), signaling that Defendants likely would not be required to pay weekly testing costs for

individuals it accommodated). In addition, the overall vaccination rate had greatly improved, and

the impact of the virus was changing. Defendants’ continued assessment of the ever-changing

circumstances establishes the reasonableness of its approach and is not evidence of discriminatory

animus.



7
  It is undisputed that in the fall of 2021, both science and the courts recognized that vaccines
reduce the risk of contracting and spreading COVID-19. Beckerich v. St. Elizabeth Med. Ctr., 563
F. Supp. 3d 633 (E.D. Ky. 2021), see also ECF No. 38, PageID 289.
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       Similarly, that Defendants accommodated individuals who made accommodation requests

under the ADA for medical conditions, does not establish discrimination against anyone with a

religious accommodation request. The standards for accommodation under the ADA are vastly

different than that required under Title VII. See Cassidy v. Detroit Edison Co., 138 F.3d 629, 634

(6th Cir. 1998). Moreover, courts have recognized that a hospital’s need to accommodate

individuals under the ADA, supports the finding of more than a de minimis burden under Title VII

(and   therefore   treating   religious   accommodation       requests   differently    than   medical

accommodations): “Every single additional unvaccinated employee to whom patients are exposed

adds to the risk to those patients.” Aukamp-Corcoran v Lancaster Gen Hosp, No. 19-5734, 2022

U.S. Dist. LEXIS 29355, at **21-23 (E.D. Pa. Feb. 18, 2022) (recognizing difference between

accommodating employees who cannot be vaccinated because of medical complications and the

undue hardship that accommodating religious requests would cause); O'Hailpin, 583 F. Supp. 3d

at 1309 (employers “may take into account the cumulative cost or burden of granting

accommodations to other employees”) (citations omitted).

       As has been universally recognized by the courts to date, accommodation of Plaintiffs —

front line health care workers — amid the pandemic would have imposed an undue burden as a

matter of law. Thus, Defendants’ motion should be granted for this additional reason.

       C. Plaintiff’s Retaliation Claim Should be Dismissed

       As set forth in Defendants’ motion, Plaintiffs also fail to allege a plausible retaliation claim.

Plaintiffs cannot establish any causal connection between an action that was announced before

they ever requested an accommodation and their accommodation request.

       Defendants announced the policy and consequences of not being vaccinated before any

Plaintiff requested a religious accommodation. ECF No. 35, ¶226; ECF No. 45-2. Under these



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circumstances, there can be no retaliation claim, when the pre-announced consequences occur.

Plaintiffs, recognizing that their claims fail, try to argue that this is somehow akin to an employer

announcing a policy that any employee complaining of sexual harassment will be terminated. Not

so. The policy here was not directed at individuals who requested accommodation. It applied to

anyone who was unvaccinated regardless of the reason why. The pre-announced consequences of

the policy had no connection to whether someone requested an accommodation and there can be

no claim of retaliation in this situation.

        While Plaintiffs claim “employees protested the vaccine mandate en masse”, Plaintiffs do

not allege they individually did so, let alone protested discrimination or any other statutory

violation. Indeed, the only alleged protected activity supporting their retaliation claim is their

request for an accommodation. ECF No. 35, ¶310. While Plaintiffs argue that the temporal

proximity between their requests and suspension is sufficient, it is not. It is well established that

temporal proximity alone is insufficient to establish retaliation where an employer is simply

proceeding along lines previously announced. Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268,

272 (2001); Michael v Caterpillar Fin. Servs. Corp., 496 F3d 584, 596 (6th Cir. 2007); Lundstrom

v Contra Costa Health Servs, No. 22-cv-06227-CRB, 2022 U.S. Dist. LEXIS 214812, at *15 (N.D.

Cal. Nov. 29, 2022) (Because COVID-19 mitigation and vaccination policies existed before

plaintiff opposed those policies, “it is not reasonable to infer that there was a causal connection

between her criticism of the policy and her termination.”) See also Speaks v Health Sys Mgmt.,

No. 5:22-CV-00077-KDB-DCK, 2022 U.S. Dist. LEXIS 146840, at **14-15 (W.D.N.C. Aug. 17,

2022) (employee could not establish retaliation because COVID-19 policy was enacted before

their alleged opposition to vaccine requirement and lack of vaccination was reason for

termination); citing O’Hailpin 583 F. Supp. at 1303-1304 (same); Together Emples., 573 F. Supp.



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3d at 444 (no causal connection where defendant asserted that “plaintiffs [were] subject to unpaid

leave and potential termination not because they requested exemption, but because they were not

approved and remain[ed] noncompliant with the Vaccination Policy”).

       Simply put, Plaintiffs fail to plead plausible allegations that Defendants took adverse action

because they sought an exemption, as opposed to because they remained unvaccinated. Plaintiffs

cannot assert a retaliation claim based simply on a failed accommodation request. See Diemond

v. Mich. Dep’t of Corr., No. 1: 20-cv-473, 2020 U.S. Dist. LEXIS 112259, at **23-24 (W.D. Mich.

June 26, 2020) (rejecting claim that that simply alleging retaliation based on the denial of an

accommodation is sufficient to establish an inference of retaliation sufficient to state a prima facia

case). Plaintiffs’ retaliation claims fail as a matter of law and should be dismissed.

       D. Plaintiffs’ Claims Under ELCRA Fail as a Matter of Law.

       As discussed in Defendants’ Motion, ELCRA does not require accommodation of religious

beliefs. As a result, Plaintiffs’ claims under the ELCRA fail as a matter of law. Plaintiffs argue

that the Court should not dismiss their ELCRA claims because they may have a religious

discrimination claim. But Plaintiffs have not even attempted to plead a religious discrimination

claim under ELCRA. (ECF No. 35, Count III, PageID 273-74). Rather, Plaintiffs only pled an

accommodation claim.

       When assessing whether claims are legally viable, arguments or legal theories asserted in

a response to a motion to dismiss are not proper substitutes for well-pled factual allegations in the

complaint itself. McCrea v. Blue Star Motel, 1:21-cv-270, 2022 U.S. Dist. LEXIS 84469, at *10-

11 (W.D. Mich. Apr. 25, 2022); citing Cole v. Monroe County, 359 F Supp 3d 526, 534 (E.D.

Mich. 2019) (“it is the complaint, and not. . .anything else, that defines a plaintiff's claims”). The

ELCRA does not require employers to accommodate an employee’s religious beliefs. Lively v.



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Kroger Co., No. 19-12961, 2021 U.S. Dist. LEXIS 38060, at **12-13 (E.D. Mich. Mar. 2, 2021)

(citations omitted); King v. Borgess Lee Mem. Hosp., No. 1:13-CV-397, 2014 U.S. Dist. LEXIS

182428, at *14 (W.D. Mich. Oct. 24, 2014) (“To the extent that Plaintiff asserts the claim that the

hospital was required to accommodate her religious beliefs, such claim must fail because the

ELCRA does not impose on employers any duty or obligation to accommodate an employee's

religious beliefs”).

        Even if the Court considers Plaintiff’s argument (which it should not), the SAC fails to

plausibly allege a religious discrimination claim under the ELCRA. There is no dispute the vaccine

policy applied to everyone. There is no allegation that individuals were treated differently because

of their religious beliefs. Plaintiffs only challenge the denial of their accommodation requests. But

since accommodation is not required under the ELCRA, Plaintiff’s ELCRA religious

accommodation claim should be dismissed. To the extent Plaintiffs now try to claim that because

medical accommodations were approved but religious were not, this also does not state a claim. It

is undisputed the ADA requires accommodation absent significant difficulty or expense (much

different than the de minimis burden under Title VII). Cassidy v. Detroit Edison Co., 138 F.3d

629, 634 (6th Cir. 1998). The ADA allows (and requires) employers to treat disabled individuals

differently than others. U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 397 (2002) (“By definition

any special ‘accommodation’ requires the employer to treat an employee with a disability

differently, i.e., preferentially.”). Plaintiffs cannot base a discrimination claim on an allegation

that disabled individuals were accommodated or treated differently. Plaintiffs have not alleged

that any plaintiff requested an accommodation under the ADA and was denied because of a

religious belief and therefore cannot establish religious discrimination.

        Finally, Plaintiffs’ retaliation claim under ELCRA fails for the same reasons that the Title



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VII claim fails, and also because Plaintiffs have not alleged any protected activity under ELCRA.

Once again, Plaintiff’s only asserted protected activity was the request of an accommodation. ECF

No. 35, ¶ 332, PageID 274. Because ELCRA does not require that an employer accommodate an

employee’s religious beliefs, requesting an accommodation is not protected activity under the

statute. Nor is protesting of the vaccine requirement protected activity. Plaintiffs offers no

authority establishing that ELCRA requires accommodation of religious beliefs, or that they

engaged in protected activity by requesting an accommodation. Thus, their ELCRA retaliation

claim should be dismissed for this additional dispositive reason.

                                     III.   CONCLUSION

       For these reasons and those set for in Defendants’ Motion to Dismiss Plaintiffs’ claims

should be dismissed with prejudice and without leave to amend.

                                             Respectfully Submitted,
                                             JACKSON LEWIS P.C.

Dated: December 29, 2022                     /s/ Allan S. Rubin____________________
                                             Maurice G. Jenkins (P33083)
                                             Allan S. Rubin (P44420)
                                             Elyse K. Culberson (P82132)
                                             2000 Town Center, Ste. 1650
                                             Southfield, MI 48075
                                             (248) 936-1900
                                             Maurice.jenkins@jacksonlewis.com
                                             Allan.rubin@jacksonlewis.com
                                             Elyse.culberson@jacksonlewis.com

                                             Patricia Pryor
                                             201 E. Fifth Street, 26th Floor
                                             Cincinnati, OH 45202
                                             (513) 898-0050
                                             Patricia.pryor@jacksonlewis.com

                                             Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE
      The undersigned certifies that on December 29, 2022, he or his assistant did file this
document using the CM/ECF system which will send notice of its filing to all counsel of record.


                                                   /s/ Allan S. Rubin
                                                   Allan S. Rubin (P44420)




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